Case 2:03-cr-00215-WBS Document 217 Filed 06/08/05 Page 1 of 7
Case 2:03-cr-00215-WBS Document 217 Filed 06/08/05 Page 2 of 7
Case 2:03-cr-00215-WBS Document 217 Filed 06/08/05 Page 3 of 7
Case 2:03-cr-00215-WBS Document 217 Filed 06/08/05 Page 4 of 7
Case 2:03-cr-00215-WBS Document 217 Filed 06/08/05 Page 5 of 7
Case 2:03-cr-00215-WBS Document 217 Filed 06/08/05 Page 6 of 7
Case 2:03-cr-00215-WBS Document 217 Filed 06/08/05 Page 7 of 7
